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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

                                                            §
           In re:                                           §       Chapter 7
                                                            §
           ASTRALABS, INC.                                  §       Case No. 23-10164-SMR
             Debtor                                         §
                                                            §

                               SUPPLEMENTAL CERTIFICATE OF SERVICE


         By my signature below, I hereby certify that the following Objections to Proof of Claim

  were served by email to the parties listed below on the 25th day of July 2023:

         1. Objection to Claim of Surrounded in Austin (Claim No. 313) was served on

             partners@surroundedinaustin.com

         2. Objection to Claims of Sarah Bailey (Claims No. 226, 241 and 253) was served on

             sarahkatebailey@gmail.com

         3. Objection to Claim of Hypha Knowledge Integration (Claim No. 135) was served on

             arpit@hypha.cc

         4. Objection to Claim of Lacey Hunter (Claim No. 167) was served on

             lacey@techaid.world

         5. Objection to Claim of Camilo Clavijo (Claim No. 220) was served on

             camiloclavijo8@gmail.com

         6. Objection to Claim of Yatinkumar Dodia (Claim No. 25) was served on

             yd0070921@gmail.com.
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                                         2



        7. Objection to Claim of Locoal Coal Company (Claim No. 68) was served on

           neil@gorolawfirm.com

        8. Objection to Claim of Brian Lee (Claim No. 348) was served on

           brianconnorlee@gmail.com




                                           Respectfully submitted,

                                           BARRON & NEWBURGER PC
                                           7320 N. MoPac Expressway, Ste. 400
                                           Austin, Texas 78731
                                           Telephone: (512) 649-3243

                                           By /s/ Stephen Sather
                                            Stephen Sather
                                            State Bar No 17657520
                                            ATTORNEY FOR OBJECTING PARTIES
